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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

 PATRICIA WARRINGTON,

                                Plaintiff,
                                                                   Civil Action No.: 8:21-cv-522 (LEK/CFH)
            v.


 HUDSON HEADWATERS HEALTH NETWORK,
 ELLEN DEPREY, and
 ADIRONDACK RADIOLOGY ASSOCIATES, P.C.,

                                Defendants.


                                   NOTICE OF REMOVAL

TO:    United States District Court
       for the Northern District of New York

       ANTOINETTE T. BACON, Acting United States Attorney for the Northern District of

New York, RANSOM P. REYNOLDS, Assistant U.S. Attorney, of counsel, respectfully petitions

the Court to remove the above-captioned action from the Supreme Court, County of Essex, State

of New York, to the United States District Court for the Northern District of New York, pursuant

to 42 U.S.C. § 233(c). In support of this notice, counsel for the United States of America states as

follows:

       1.        Hudson Headwaters Health Network (hereinafter “HHHN”) and Ellen Deprey are

defendants in the above-captioned civil proceeding now pending in Supreme Court, County of

Essex, State of New York.

       2.        Upon information and belief, Deprey and HHHN each were served with the

Summons and Complaint, a copy of which is attached hereto as Exhibit A.
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       3.      The Complaint asserts claims of medical malpractice against HHHN, Deprey, and

Adirondack Radiology Associates, P.C.

       4.      The exclusive remedy for a claim of injury resulting from the performance of

medical functions by an employee of the Public Health Service while acting in the scope of her

employment is an action against the United States under the Federal Tort Claims Act (“FTCA”).

42 U.S.C. § 233(a). An entity that receives federal funds under 42 U.S.C. § 245b, and any

employee of such an entity, are deemed to be employees of the Public Health Service. 42 U.S.C.

§ 233(g)(1)(A), (4).

       5.      HHHN is an entity that receives federal funds under 42 U.S.C. § 245b, and was

deemed by the United States Department of Health and Human Services to be eligible for Federal

Tort Claims Act coverage effective January 1, 2017. That coverage has continued without

interruption. See Declaration of Department of Health and Human Services Senior Attorney

Meredith Torres, attached as Exhibit B.

       6.      At the time of the incidents alleged in the complaint, Ellen Deprey was a physician

assistant employed by the Hudson Headwaters Health Network. See Exhibit B ¶ 6.

       7.      Since HHHN is an entity deemed eligible for Federal Tort Claims Act coverage,

and Ellen Deprey was an employee at the time of the allegations contained in the complaint,

Plaintiff’s exclusive remedy is against the United States. 42 U.S.C. § 233(g)(1)(A).

       8.      Co-defendant Adirondack Radiology Associates, P.C. does not received federal

funds under 42 U.S.C. § 245b and is not covered by the FTCA.

       9.      Where an action asserting negligence or medical malpractice against a Public

Health Service employee is filed in state court, the action “shall be removed” to federal court and

“deemed a tort action brought against the United States” “[u]pon a certification by the Attorney



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General that the defendant was acting in the scope of his employment at the time of the incident

out of which the suit arose.” 42 U.S.C. § 233(c).

       10.     The Attorney General has designated his authority to provide the certification

required by 42 U.S.C. § 233(c) to each United States Attorney. 28 C.F.R. § 15.3. Attached as

Exhibit C is a certification signed by Acting United States Attorney Antoinette T. Bacon,

certifying that Ellen Deprey was acting within the scope of her employment at the time of the

incident alleged in Plaintiff’s complaint.

       WHEREFORE, petitioner respectfully requests that the above-captioned matter now

pending in the Supreme Court, County of Essex, State of New York, be removed to the United

States District Court for the Northern District of New York, pursuant to 42 U.S.C. § 233(c).



Dated: May 6, 2021                                  ANTOINETTE T. BACON
                                                    Acting United States Attorney
                                                    Northern District of New York
                                                    P. O. Box 7198
                                                    100 South Clinton Street
                                                    Syracuse, New York 13261-7198


                                             By:    /s/ Ransom P. Reynolds
                                                    Ransom P. Reynolds
                                                    Assistant United States Attorney
                                                    Bar Roll No. 512035




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                       “A”
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                       “B”
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK


Patricia Warrington,                   )
                                       )
              Plaintiff,               )
                                       )                     Case No.
                  v.                   )
                                       )
Hudson Headwaters Health Network,      )
Ellen Deprey and                       )
Adirondack Radiology Associates, P.C., )
                                       )
              Defendants.              )
____________________________________)


                                      DECLARATION OF
                                      MEREDITH TORRES

       1.   I am a Senior Attorney in the General Law Division, Office of the General Counsel,

Department of Health and Human Services (the “Department”).        I am familiar with the official

records of administrative tort claims maintained by the Department as well as with the system by

which those records are maintained.

       2.   The Department has a Claims Office that maintains in a computerized database a

record of administrative tort claims filed with the Department, including those filed with respect

to federally supported health centers that have been deemed to be eligible for Federal Tort

Claims Act malpractice coverage.

       3.   As a consequence, if an administrative tort claim had been filed with the Department

with respect to Hudson Headwaters Health Network, its approved delivery sites, or its employees

or qualified contractors, a record of that filing would be maintained in the Claims Office’s

database.

       4.   I caused a search of the Claims Branch’s database to be conducted and found that

administrative tort claims were filed on November 2, 2020, by Christopher K. Mills, Esquire,
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                                                 2

authorized representative for Patricia Warrington, relating to medical care provided by Hudson

Headwaters Health Network and Ellen Deprey, P.A. To date, no final disposition has been

made and the Plaintiff has not exhausted her administrative remedies pursuant to 28 U.S.C.

§2675.

         5.   I have also reviewed official Agency records and determined that Hudson

Headwaters Health Network was deemed eligible for Federal Tort Claims Act malpractice

coverage effective January 1, 2017 and that its coverage has continued without interruption.

The Secretary of Health and Human Services’ authority to deem entities as Public Health Service

employees under 42 U.S.C. § 233(g) has been delegated to the Associate Administrator, Bureau

of Primary Health Care, Health Resources and Services Administration. Copies of the

notifications by the Associate Administrator, Bureau of Primary Health Care, Health Resources

and Services Administration, Department of Health and Human Services, to Hudson Headwaters

Health Network are attached to this declaration as Exhibit 1.

         6. I have also reviewed the employment records submitted by Hudson Headwaters

Health Network, on behalf of the defendant, Ellen Deprey, P.A.      I have determined that Ellen

Deprey, P.A., was an employee of Hudson Headwaters Health Network at the time of the

incidents giving rise to this suit.

I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C. § 1746.

         Dated at Washington, D.C., this 21st day of April, 2021.




                                       MEREDITH TORRES
                                       Senior Attorney, Claims and Employment Law Branch
                                       General Law Division
                                       Office of the General Counsel
                                       Department of Health and Human Services
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        EXHIBIT

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FTCA DEEMING NOTICE
                                 GRANT NUMBER:
NO.:
                                 H80CS00159
1­F00000543­16­01


Hudson Headwaters Health Network
9 CAREY ROAD QUEENSBURY, NY 12804­7880
QUEENSBURY, NY

Dear John Rugge:

The Health Resources and Services Administration (HRSA), in accordance with the Federally
Supported Health Centers Assistance Act (FSHCAA), as amended, sections 224(g)­(n) of the Public
Health Service (PHS) Act, 42 U.S.C. §§ 233(g)­(n), deems Hudson Headwaters Health Network to
be an employee of the PHS, for the purposes of section 224, effective 1/1/2017 through
12/31/2017.

Section 224(a) of the PHS Act provides liability protection under the Federal Tort Claims Act
(FTCA), 28 U.S.C. §§ 1346(b), 2672, or by alternative benefits provided by the United States where
the availability of such benefits precludes a remedy under the FTCA, for damage for personal injury,
including death, resulting from the performance of medical, surgical, dental, or related functions by
PHS employees while acting within the scope of such employment. This protection is exclusive of
any other civil action or proceeding. Coverage extends to deemed entities and their (1) officers; (2)
governing board members; (3) full­ and part­time employees; and (4) contractors who are licensed
or certified individual health care practitioners providing full­time services (i.e., on average at least
32½ hours per week for the entity for the period of the contract), or, if providing an average of less
than 32½ hours per week of such service, are licensed or certified providers in the fields of family
practice, general internal medicine, general pediatrics, or obstetrics/gynecology. Volunteers are
neither employees nor contractors and therefore are not eligible for FTCA coverage under
FSHCAA.

This Notice of Deeming Action (NDA) is also confirmation of medical malpractice coverage for both
Hudson Headwaters Health Network and its covered individuals as described above. This NDA,
along with documentation confirming employment or contractor status with the deemed entity, may
be used to show liability coverage for damage for personal injury, including death, resulting from the
performance of medical, surgical, dental, or related functions by PHS employees while acting within
the scope of such employment.

In addition, FTCA coverage is comparable to an "occurrence" policy without a monetary cap.
Therefore, any coverage limits that may be mandated by other organizations are met.

This action is based on the information provided in your FTCA deeming application, as required
under 42 U.S.C. § 233(h), with regard to your entity’s: (1) implementation of appropriate policies
and procedures to reduce the risk of malpractice and litigation; (2) review and verification of
professional credentials and privileges, references, claims history, fitness, professional review
organization findings, and licensure status of health professionals; (3) cooperation with the
Department of Justice (DOJ) in the defense of claims and actions to prevent claims in the future;
and (4) cooperation with DOJ in providing information related to previous malpractice claims history.

Deemed health centers must continue to receive funding under Section 330 of the PHS Act, 42
U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If the deemed entity
loses its Section 330 funding, such coverage will end immediately upon termination of the grant. In
addition to the relevant statutory and regulatory requirements, every deemed health center is
expected to follow HRSA's FTCA­related policies and procedures, which may be found online at
http://www.bphc.hrsa.gov.

For further information, please contact your HRSA Project Officer as listed on your Notice of Grant
Award or the Bureau of Primary Health Care (BPHC) Help Line at 1­877­974­2742 or
bphchelpline@hrsa.gov.
      Case 8:21-cv-00522-LEK-CFH Document 1 Filed 05/06/21 Page 25 of 31




1. ISSUE DATE: 8/11/2017



2a. FTCA DEEMING NOTICE NO.:
1­F00000543­17­01


2b. Supersedes: [ ]



3. COVERAGE PERIOD:
FROM: 1/1/2018 THROUGH: 12/31/2018
                                                          DEPARTMENT OF HEALTH AND
                                                                HUMAN SERVICES
4. NOTICE TYPE: Renewal                                 HEALTH RESOURCES AND SERVICES
                                                                ADMINISTRATION

5a. ENTITY NAME AND ADDRESS:
Hudson Headwaters Health Network
9 CAREY RD
QUEENSBURY, NY 12804
                                                            NOTICE OF DEEMING ACTION

                                                            FEDERAL TORT CLAIMS ACT
                                                                   AUTHORIZATION:
6. ENTITY TYPE: Grantee                              Federally Supported Health Centers Assistance
                                                              Act (FSHCAA), as amended,
                                                     Sections 224(g)­(n) of the Public Health Service
                                                           (PHS) Act, 42 U.S.C. § 233(g)­(n)
7. EXECUTIVE DIRECTOR:
David Tucker Slingerland


8a. GRANTEE ORGANIZATION:
Hudson Headwaters Health Network




8b. GRANT NUMBER: H80CS00159



9. THIS ACTION IS BASED ON THE INFORMATION SUBMITTED TO, AND AS APPROVED BY
HRSA, AS REQUIRED UNDER 42 U.S.C. § 233(h) FOR THE ABOVE TITLED ENTITY AND IS
SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY OR BY
REFERENCE IN THE FOLLOWING:

 a. The authorizing program legislation cited above.
 b. The program regulation cited above, and,
 c. HRSA's FTCA­related policies and procedures.

In the event there are conflicting or otherwise inconsistent policies applicable to the program, the
above order of precedence shall prevail.
10. Remarks:
The check box [x] in the supersedes field indicates that this notice supersedes any and all
activeCase
       NDAs8:21-cv-00522-LEK-CFH       Document
            and rescinds any and all future        1 Filed
                                            NDAs issued       05/06/21
                                                           prior          Page 26 of 31
                                                                 to this notice.


Electronically signed by Tonya Bowers, Deputy Associate Administrator for Primary Health
Care on: 8/11/2017 9:59:08 AM
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FTCA DEEMING NOTICE
                                 GRANT NUMBER:
NO.:
                                 H80CS00159
1­F00000543­17­01


Hudson Headwaters Health Network
9 CAREY RD
QUEENSBURY, NY12804

Dear David Tucker Slingerland:

The Health Resources and Services Administration (HRSA), in accordance with the Federally
Supported Health Centers Assistance Act (FSHCAA), as amended, sections 224(g)­(n) of the Public
Health Service (PHS) Act, 42 U.S.C. §§ 233(g)­(n), deems Hudson Headwaters Health Network to
be an employee of the PHS, for the purposes of section 224, effective 1/1/2018 through
12/31/2018.

Section 224(a) of the PHS Act provides liability protection under the Federal Tort Claims Act
(FTCA), 28 U.S.C. §§ 1346(b), 2672, or by alternative benefits provided by the United States where
the availability of such benefits precludes a remedy under the FTCA, for damage for personal injury,
including death, resulting from the performance of medical, surgical, dental, or related functions by
PHS employees while acting within the scope of such employment. This protection is exclusive of
any other civil action or proceeding. Coverage extends to deemed entities and their (1) officers; (2)
governing board members; (3) full­ and part­time employees; and (4) contractors who are licensed
or certified individual health care practitioners providing full­time services (i.e., on average at least
32½ hours per week for the entity for the period of the contract), or, if providing an average of less
than 32½ hours per week of such service, are licensed or certified providers in the fields of family
practice, general internal medicine, general pediatrics, or obstetrics/gynecology. Volunteers are
neither employees nor contractors and therefore are not eligible for FTCA coverage under
FSHCAA.

This Notice of Deeming Action (NDA) is also confirmation of medical malpractice coverage for both
Hudson Headwaters Health Network and its covered individuals as described above. This NDA,
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be used to show liability coverage for damage for personal injury, including death, resulting from the
performance of medical, surgical, dental, or related functions by PHS employees while acting within
the scope of such employment.

In addition, FTCA coverage is comparable to an "occurrence" policy without a monetary cap.
Therefore, any coverage limits that may be mandated by other organizations are met.

This action is based on the information provided in your FTCA deeming application, as required
under 42 U.S.C. § 233(h), with regard to your entity’s: (1) implementation of appropriate policies
and procedures to reduce the risk of malpractice and litigation; (2) review and verification of
professional credentials and privileges, references, claims history, fitness, professional review
organization findings, and licensure status of health professionals; (3) cooperation with the
Department of Justice (DOJ) in the defense of claims and actions to prevent claims in the future;
and (4) cooperation with DOJ in providing information related to previous malpractice claims history.

Deemed health centers must continue to receive funding under Section 330 of the PHS Act, 42
U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If the deemed entity
loses its Section 330 funding, such coverage will end immediately upon termination of the grant. In
addition to the relevant statutory and regulatory requirements, every deemed health center is
expected to follow HRSA's FTCA­related policies and procedures, which may be found online at
http://www.bphc.hrsa.gov.

For further information, please contact your HRSA Project Officer as listed on your Notice of Grant
Award or the Bureau of Primary Health Care (BPHC) Help Line at 1­877­974­2742 or
bphchelpline@hrsa.gov.
                            Case 8:21-cv-00522-LEK-CFH Document 1 Filed 05/06/21 Page 28 of 31
 1. ISSUE DATE: (MM/DD/YYYY)
 7/3/2018

 2a. FTCA DEEMING NOTICE NO.:
 1­F00000543­18­01

 2b. Supersedes: [ ]

 3. COVERAGE PERIOD:
   From: 1/1/2019 Through: 12/31/2019                                                                          DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4. NOTICE TYPE:                                                                                            HEALTH RESOURCES AND SERVICES ADMINISTRATION
 Renewal

 5. ENTITY NAME AND ADDRESS:
 Hudson Headwaters Health Network
 9 CAREY RD                                                                                                               NOTICE OF DEEMING ACTION
 QUEENSBURY, NY 12804                                                                                          FEDERAL TORT CLAIMS ACT AUTHORIZATION:
 6. ENTITY TYPE:                                                                                  Federally Supported Health Centers Assistance Act(FSHCAA), as amended,
 Grantee                                                                                       Sections 224(g)­(n) of the Public Health Service (PHS) Act, 42 U.S.C. § 233(g)­(n)

 7. EXECUTIVE DIRECTOR:
 David Tucker Slingerland

 8a. GRANTEE ORGANIZATION:
 Hudson Headwaters Health Network

 8b. GRANT NUMBER:
 H80CS00159

 9. THIS ACTION IS BASED ON THE INFORMATION SUBMITTED TO, AND AS APPROVED BY HRSA, AS REQUIRED UNDER 42 U.S.C. § 233(h) FOR THE ABOVE TITLED ENTITY AND IS
 SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY OR BY REFERENCE IN THE FOLLOWING:
   a. The authorizing program legislation cited above.
   b. The program regulation cited above, and,
   c. HRSA's FTCA­related policies and procedures.


 In the event there are conflicting or otherwise inconsistent policies applicable to the program, the above order of precedence shall prevail.

 10. Remarks:




 The check box [x] in the supersedes field indicates that this notice supersedes any and all active NDAs and rescinds any and all future NDAs issued prior to this notice.

 Electronically signed by Tonya Bowers, Deputy Associate Administrator for Primary Health Care on: 7/3/2018 2:44:50 PM


A printer version document only. The document may contain some accessibility challenges for the screen reader users. To access same information, a fully 508 compliant accessible
HTML version is available on the HRSA Electronic Handbooks in the FTCA Folder. If you need more information, please contact the BPHC Helpline at 877­974­BPHC (2742); Weekdays
from 8:30 AM to 5:30 PM ET.
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FTCA DEEMING NOTICE NO.:                                                 GRANT NUMBER:
1­F00000543­18­01                                                        H80CS00159




Hudson Headwaters Health Network
9 CAREY RD
QUEENSBURY, NY12804


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or related functions by PHS employees while acting within the scope of such employment. This protection is exclusive of any other civil action or proceeding. Coverage extends to
deemed entities and their (1) officers; (2) governing board members; (3) full­ and part­time employees; and (4) contractors who are licensed or certified individual health care
practitioners providing full­time services (i.e., on average at least 32½ hours per week for the entity for the period of the contract), or, if providing an average of less than 32½ hours per
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deemed health center is expected to follow HRSA's FTCA­related policies and procedures, which may be found online at http://www.bphc.hrsa.gov.

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bphchelpline@hrsa.gov.



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HTML version is available on the HRSA Electronic Handbooks in the FTCA Folder. If you need more information, please contact the BPHC Helpline at 877­974­BPHC (2742); Weekdays
from 8:30 AM to 5:30 PM ET.
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                      “C”
      Case 8:21-cv-00522-LEK-CFH Document 1 Filed 05/06/21 Page 31 of 31




                                       CERTIFICATION

       The undersigned, the Acting United States Attorney for the Northern District of New York,

pursuant to the provisions of 42 U.S.C. § 233(c) and by virtue of the authority vested in her by the

Attorney General under Title 28, Code of Federal Regulations, Part 15.3, hereby certifies that she

has read the foregoing notice of removal and the attachments thereto and that upon the basis of the

information now available to her with respect to the incident referred to therein, she certifies that

the defendant, Ellen Deprey, was at the time of the alleged incidents in the Complaint, a licensed

physician assistant for the Hudson Headwaters Health Network, a federally deemed health center,

and was acting within the scope of her employment at all times relevant to the Complaint.




Dated: May ___, 2021                          __________________________________
                                                    Antoinette T. Bacon
                                                    Acting United States Attorney
                                                    Northern District of New York
